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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   LEXINGTON DIVISION
                              CIVIL ACTION NO. 5:17-cv-431-DCR
                                      Filed Electronically

In re: 117 Wilson Street, Berea, Kentucky 40403

UNITED STATES OF AMERICA                                                       PLAINTIFF

VS.

NICHOLAS PETERS , ET AL                                                        DEFENDANTS

                   RESPONSE TO JULY 6, 2018 ORDER TO SHOW CAUSE
                                     *********

          Comes the Plaintiff, by and through counsel, hereby responds to the Court’s Show Cause

Order [DE 15] entered July 6, 2018 to show as to why this case should not be dismissed for lack

of prosecution, as follows:

          This case is a mortgage foreclosure action brought by the United States of America. The

United States of America holds a mortgage lien on the real property which is the subject of this

action.

          This Honorable Court, upon motion of Plaintiff, entered Default against all Defendants on

March 15, 2018 [DE 14.]

          Counsel for Plaintiff, only through oversight and not with any intention to delay, did not

timely file the Motion for Judgment and Order of Sale tendered contemporaneously herewith.

          Counsel for Plaintiff further states that an increasing caseload of foreclosure cases from

the United States Department of Agriculture has caused Counsel for Plaintiff to hire additional

staff for his office in June 2018 to solely assist with docketing and calendaring of ongoing litigation

so as to eliminate such delays in prosecution going forward in all cases before the United States

District Court.

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       With this increased caseload, and staff being brought onboard and being trained in the

docketing and calendaring system currently in use, the deadlines for the aforementioned filings in

this case were regrettably missed.

       Counsel for Plaintiff further states that no prejudice against the Defendants has been caused

by Counsel for Plaintiffs lack of diligence in prosecution of this case.

       Counsel for Plaintiff apologizes to this Honorable Court for its delay in filing, and

respectfully requests that this Court consider its Motion for Judgment and Order of Sale tendered

herewith, and that this cause of action remain on the active docket.

                                                      Respectfully submitted,

                                                      /s/ A. George Mason, Jr.
                                                      A. George Mason, Jr.
                                                      KBA No. 44596
                                                      Attorney for the Plaintiff
                                                      3070 Lakecrest Circle
                                                      Suite 400, PMB 278
                                                      Lexington, KY 40513




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                                 CERTIFICATE OF SERVICE
       This will certify that I electronically filed the foregoing into the Court’s record of this

action by using the Court’s CM/ECF Electronic Filing System, and that any order of judgment

United States of America proposes in connection therewith is an attachment to the filing.

       This will further certify that a true and correct copy of the foregoing, together with a copy

of any order or judgment United States of America proposes in connection herewith, has been

served as follows:

-Via U.S. Postal Service, postage prepaid

NICHOLAS PETERS
24203 88th Ave. E.
Graham, WA 98338

SAMANTHA PETERS
24203 88th Ave. E.
Graham, WA 98338

FEDERATION OF APPALACHIAN
HOUSING ENTERPRISES, INC.
Sara A. Morgan
Registered Agent
319 Oak Street
Berea, KY 40403

                                                     By: /s/ A. George Mason, Jr.
                                                     Attorney for the Plaintiff
                                                     George Mason Law Firm, PSC




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